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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

In re:                                          )
                                                )
SYNERGY HDD, INC.                               )      Case No. 21-12518-SAH
                                                )      (Chapter 11)
                                                )
                Debtor.                         )

                   AFFIDAVIT OF DUSTIN WHEELER IN SUPPORT OF
                      FIRST DAY MOTIONS AND APPLICATIONS


STATE OF OKLAHOMA  )
                   ) ss
COUNTY OF OKLAHOMA )

         Dustin Wheeler, being of lawful age and first duly sworn, hereby deposes and states as

follows:

         1.     I am making this affidavit/sworn declaration on the basis of direct personal

knowledge.

         2.     I am the President of Debtor.

         3.     I submit this affidavit in support of Debtor’s First-Day Motions in the captioned

Chapter 11 case.

         4.     On September 17, 2021, the Board of Directors for the Debtor authorized the

filing of its Chapter 11 bankruptcy petition. On September 21, 2021 (the ‘Petition Date”),

Debtor filed its voluntary Chapter 11 petition for relief.

         5.     Debtor continues in the possession of their properties and the management of their

businesses as debtors-in-possession.
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          6.    In order to enable Debtor to operate effectively and minimize adverse effects of

the Chapter 11 filing, Debtor has filed or will be filing the First Day Motions on the Petition

Date or soon thereafter and have requested certain expedited relief.

I.        THE BACKGROUND OF THE DEBTORS

          7.    Debtor is renewable energy construction business and employs approximately 200

people.

II.       FIRST DAY MOTIONS

          8.    The Debtors are filing two (2) First Day Motions:

                (a)     EMERGENCY MOTION TO USE CASH COLLATERAL.

                (b)     EMERGENCY MOTION FOR ORDER UNDER 11 U.S.C. §§ 105, 363
                      AND 507, (I) AUTHORIZING PAYMENT OF PRE-PETITION
                      EMPLOYEE OBLIGATIONS AND RELATED AMOUNTS, (II)
                      CONFIRMING RIGHT OF DEBTOR TO CONTINUE EMPLOYEE
                      PROGRAMS ON POST-PETITION BASIS, (III) CONFIRMING RIGHT OF
                      DEBTOR TO PAY WITHHOLDING AND PAYROLL RELATEDTAXES
                      AND (IV) DIRECTING BANKS TO HONOR PRE-PETITION CHECKS
                      FOR EMPLOYEE OBLIGATIONS

          A.          CASH COLLATERAL


          9.    Prepetition, the First Pryority Bank asserted a first priority lien secured by

substantially all of the assets of the Debtor in the approximate amount of    $10,000,000.00 (the

“Pre-Petition Lenders).”

                (a)     CASH COLLATERAL

          10.   Debtor acknowledges, that its cash, including, without limitation, all cash and

other amounts on deposit or maintained in any account or accounts by the Debtor, and any

amounts generated by the collection of accounts receivable, the sale of inventory, or other

disposition of Pre-Petition Collateral, may constitute proceeds of the Pre-Petition Collateral and,

if so, are cash collateral of the Pre-Petition Lenders.

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       11.       The Pre-Petition Lenders are entitled to adequate protection of their interests in

the Pre-Petition Collateral, in an amount equal to the sum of, without duplication, the aggregate

amount of diminution in value of the Pre-Petition collateral, whether by depreciation, use, sale,

loss, decline in market price, the imposition of the automatic stay, the priming of the Pre-Petition

Liens, or otherwise.

       12.       Offer of adequate protection as reflected in the Motion to Use Cash Collateral

protects the interest of the Pre-Petition Lenders.

                 (b)     BUSINESS JUDGMENT AND GOOD FAITH

       13.       The terms of the proposed use of Cash Collateral are fair, just, and reasonable

under the circumstances. They are ordinary and appropriate for secured financing to and for

debtors-in-possession.     They reflect the Debtor’s exercise of prudent business judgment

consistent with their fiduciary duties and constitute reasonably equivalent value and fair

consideration.

                 (c)     ADEQUATE PROTECTION

       14.       Debtor has offered adequate protection including, without limitation, a

replacement lien, subject only to prior non-avoidable liens, in all of Debtor's assets, excluding

only causes of action arising under chapter 5 of the Bankruptcy Code.

                 (d)     IMMEDIATE ENTRY

       15.       The Debtors request immediate entry of the Order. The relief requested therein

(to use Cash Collateral) is necessary to avoid immediate and irreparable harm to the Debtor.

Good cause exists for the entry of the Order. Among other things, entry of the Order is

necessary to avoid immediate disruption of and possible cessation of the Debtors’ businesses and

operations and permit them to meet payroll and other operating expenses, obtain needed supplies



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and retain customer and supplier confidence by demonstrating an ability to maintain normal

operations, and facilitate their Chapter 11 goals and maximize the value of their assets and estate.

       B.      Pre-petition Employee Claims

       16.     In order to maintain continuity and maximize the value of Debtor’s assets and the

return to creditors it is critical that Debtor to pay, continue or otherwise honor pre-petition

obligations (collectively, the “Pre-petition Employee Obligations”) to or for the benefit of its

current employees (collectively, the “Employees”) for salaries and other compensation and

benefits under all plans, programs and policies implemented by the Debtor prior to the Petition

Date (as set forth below, the “Employee Programs”). The Debtor seeks immediate authority to

make payments to Employees on account of Pre-petition Employee Obligations.

       C.      Limit Notice

       17.     It is adequate and in the best interest of the bankruptcy estate that notice of the

First Day Motions herein be provided by e-mail, facsimile, or overnight delivery and limited to:

(a) the Office of the United States Trustee for the Western District of Oklahoma, (b) all known or

alleged secured creditors, (c) the 20 largest unsecured non-insider creditors of the Debtor, (d) all

known shareholders holding over 5% of a class of equity interests of the Debtor, (e) all of the

Debtor’s professionals, (f) all members of any official committee of unsecured creditors that may

be appointed, (g) counsel for, and any professionals retained by, any official committee of

unsecured creditors that may be appointed, (h) the United States Attorney’s Office for the

Western District of Oklahoma, (i) the Internal Revenue Service, (j) any persons who have filed a

request for notice pursuant to Bankruptcy Rule 2002, and (k) any such other government

agencies to the extent required by the Bankruptcy Rules and Local Rules of this Court. In light of

the expedited nature of the relief requested herein and the irreparable harm to the Debtor that



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may ensue if the relief requested is not granted, the Debtor submits that no further notice need be

given and that the notice provided by the Debtor is sufficient.

         I declare under penalty of perjury that the foregoing is true and correct, to the best of my

knowledge, information, and belief.

         EXECUTED on September 21, 2021.



                                               /s/ Dustin Wheeler
                                               Dustin Wheeler




Filed by:

/s/ Stephen J. Moriarty
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